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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  ROSIE MARTINEZ,                                                             DEFENDANTS’ PROPOSED
                                                                              SPECIAL
                                                      Plaintiff,              INTERROGATORIES 1
                                -against-                                     16 CV 79 (NM) (CLP)
  CITY OF NEW YORK, et al.,

                                                      Defendants.

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      1) Did plaintiff request medical attention while she was at the 107th Precinct?

                   YES ______ NO _______

      2) If plaintiff did request medical attention while she was the 107th Precinct, did defendant
         Eric Ryan know that plaintiff requested medical attention?

                   YES ______ NO _______

      3) Did defendant Eric Ryan reasonably believe, even if mistaken, that plaintiff did not
         require urgent medical attention?

                   YES ______ NO _______

      4) Did defendant Eric Ryan reasonably believe, even if mistaken, that plaintiff did not
         sustain a serious injury?

                   YES ______ NO _______

      5) If plaintiff did request medical attention while she was the 107th Precinct, did defendant
         Joseph DiGennaro know that plaintiff requested medical attention?

                   YES ______ NO _______

      6) Did defendant Joseph DiGennaro reasonably believe, even if mistaken, that plaintiff did
         not require urgent medical attention?

                   YES ______ NO _______


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      Defendants reserve the right to propose supplemental special interrogatories based upon the
  testimony and any rulings of the Court during trial.
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     7) Did defendant Joseph DiGennaro reasonably believe, even if mistaken, that plaintiff did
        not sustain a serious injury?

                YES ______ NO _______

     8) If plaintiff did request medical attention while she was the 107th Precinct, did defendant
        David Camhi know that plaintiff requested medical attention?

                YES ______ NO _______

     9) Did defendant David Camhi reasonably believe, even if mistaken, that plaintiff did not
        require urgent medical attention?

                YES ______ NO _______

     10) Did defendant David Camhi reasonably believe, even if mistaken, that plaintiff did not
         sustain a serious injury?

                YES ______ NO _______

     11) If plaintiff did request medical attention while she was the 107th Precinct, did defendant
         Keith Laliberte know that plaintiff requested medical attention?

                YES ______ NO _______

     12) Did defendant Keith Laliberte reasonably believe, even if mistaken, that plaintiff did not
         require urgent medical attention?

                YES ______ NO _______

     13) Did defendant Keith Laliberte reasonably believe, even if mistaken, that plaintiff did not
         sustain a serious injury?

                YES ______ NO _______




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  Dated: New York, New York
         December 6, 2022

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                                     By:    /s/ Kavin Thadani
                                            Kavin Thadani


  cc:   VIA ECF
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